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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


 UNITED STATES OF AMERICA                                                      PLAINTIFF

 v.                             CASE NO. 5: 15-CR-50060

 LARRY JESUS NAVARETE
 a/k/a LARRY NAVARRETE
 a/k/a NICA
 and
 GUADALUPE DURAN
 a/k/a GUADALUPE NAVARRETE
 a/k/a ISABEL NAVARRETE                                                   DEFENDANTS


                          MEMORANDUM OPINION AND ORDER

       Currently before the Court are Defendant Larry Jesus Navarete's Motion for a Bill

 of Particulars (Doc. 78), Motion to Sever (Doc. 83) , and Motion in Limine (Doc. 89), as

 well as the Government's Responses in opposition to each of these Motions (Docs. 91 ,

 92 , and 97, respectively). For the reasons given below, Mr. Navarete's Motions for a Bill

 of Particulars and to Sever are DENIED , and his Motion in Limine is GRANTED IN PART

 AND DENIED IN PART.

                     1.     Motion for Bill of Particulars (Doc. 78)

       On January 27, 2016 , a Superseding Indictment (Doc. 32) was filed in this case,

 charging Mr.    Navarete with    six criminal counts concern ing the distribution of

 methamphetamine and laundering of proceeds therefrom in the Fayetteville Division of

 the Western District of Arkansas.    Mr. Navarete was arraigned on these charges on

 February 3. (Doc. 39). More than six months later, on August 8, Mr. Navarete filed a

 Motion for Bill of Particulars, which is an instrument whose purpose "is to inform the



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 defendant of the nature of a charge with sufficient precision to enable him to prepare for

 trial and to avoid or minimize the danger of surprise at trial ," when an indictment does not

 provide enough information to prepare a defense. United States v. Livingstone , 576 F.3d

 881 , 883 (8th Cir. 2009). The decision whether to grant such a motion is one that is

 committed to the discretion of the district court. See United States v. Huggans, 650 F.3d

 1210, 1220 (8th Cir. 2011 ).

        The Federal Rules of Criminal Procedure permit a defendant to "move for a bill of

 particulars before or within 14 days after arraignment or at a later time if the court permits."

 Fed . R. Crim . P. ?(f) (emphasis added) . Here, Mr. Navarete did not seek advance leave

 to file this Motion , but even construing his Motion as one for leave to move for a bill of

 particulars, the Court would not grant such leave because Mr. Navarete has not provided

 any explanation for why he waited five-and-a-half months after his arraignment to seek it,

 until only three weeks remained before his trial. The discovery in this case has been

 rather voluminous, necessitating several continuances of the trial date.           The motion

 practice in this case has also been unusually intense , with this particular Motion being

 one of thirteen motions that have been filed by Mr. Navarete within the last month and a

 half alone (not counting motions for extensions of deadlines).             The Court finds it

 impossible to believe that Mr. Navarete is not extremely well apprised by now of the

 charges against him , and sufficiently so to prepare a defense at trial.

        Furthermore , to the extent the Motion requests information that the Government

 has not already provided in discovery, such information appears to be either unknown to

 the Government (such as the specific dates on which the conspiracies charged in Counts

 1 and 3 began), specific arguments that the Government intends to make to the jury about



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 how to interpret the evidence (such as how to infer that Mr. Navarete acted knowingly) ,

 or the identities of informants or other witnesses that will be provided by the Government

 to Mr. Navarete "by no later than Noon on August 25 , 2016 ," (Doc. 90 , p. 4 (quoting Doc.

 48 , p. 2)). In other words , to the extent that Mr. Navarete's Motion is not moot (or will not

 soon be moot), it appears to be functioning as "a discovery device to be used to require

 the government to provide a detailed disclosure of the evidence that it will present at trial ,"

 which is not the proper function of a bill of particulars. Livingstone , 576 F.3d at 883.

 Therefore, Mr. Navarete's Motion for a Bill of Particulars will be DENIED .

                              2.      Motion to Sever (Doc. 83)

        Mr. Navarete has moved th is Court to sever his trial from that of his co-defendant,

 Ms. Duran . Fed . R. Crim. P. 14 authorizes the Court to "sever the defendants' trials" if

 their joinder or consolidation "appears to prejudice a defendant or the government. " The

 Eighth Circuit has explained that "to warrant severance under Rule 14 a defendant must

 show real prejudice, that is, something more than the mere fact that he would have had

 a better chance for acquittal had he been tried separately ." United States v. Bennett, 765

 F.3d 887 , 898 (8th Cir. 2014) (internal alterations and quotation marks omitted) . "A

 defendant can demonstrate real prejudice to his right to a fair trial by showing (a) his

 defense is irreconcilable with that of his co-defendant or (b) the jury will be unable to

 compartmentalize the evidence as it relates to the separate defendants." Id. (quoting

 United States v. Mickelson , 378 F.3d 810 , 818 (8th Cir. 2004)).

        Mr. Navarete submits four reasons that he will suffer real prejudice at trial if his

 and Ms. Duran 's trials are not severed:

        (a) Defendant Navarete's defense(s) and the defenses of his Co-Defendant
            will be irreconcilably different;


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        (b) As husband and wife, Defendant Navarete and Co-Defendant Duran's
            relationship will be held against them by a jury who will impute special
            knowledge of the other's activities against them ;

        (c) Co-Defendant Duran 's refusal to give exculpatory testimony in a joint
            trial because of the potential for self-incrimination; and

        (d) The possible introduction of any possible extrajudicial confession by Co-
            Defendant Duran that incriminates the Defendant, even if introduced
            only against Duran .

 (Doc. 83 , ~ 5).   Regarding the first reason, since Mr. Navarete has not provided any

 description or explanation of what his or Ms. Duran 's defenses will be-much less of how

 they will differ-there is no basis in the record for this Court to conclude that any such

 differences would be irreconcilable . Similarly with regard to the second reason , it is only

 supported by speculation. As for the third reason , the Court does not see how severing

 the trials would cure the prejudice, because either defendant would still retain his or her

 Fifth Amendment right during the other's trial. And as for the fourth , the Government

 represents that it does not possess any such extrajudicial confession by Ms. Duran that

 could be introduced . Therefore , Mr. Navarete's Motion to Sever will be DENIED .

                             3.     Motion in Limine (Doc. 89)

        In his Motion in Limine , Mr. Navarete asks this Court to exclude two particular types

 of evidence at trial : lay-witness identification of voices and telephone conversations, and

 expert-witness testimony of any sort-with his main concern being expert testimony on

 drug-trade code words . Regarding the former category of evidence, the Federal Rules of

 Evidence permit opinion testimony identifying a person 's voice by a witness who has

 "hear[d] the voice at any time under circumstances that connect it with the alleged

 speaker." Fed. R. Evid. 901(b)(5). The Rules also permit the introduction of evidence



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 "that a call was made to the number assigned at the time to ... a particular person , if

 circumstances , including self-identification , show that the person answering was the one

 called. " Fed. R. Evid . 901(b)(6)(A). Mr. Navarete argues that "the Government has not

 shown that it can identify [Mr. Navarete's voice] via first-hand knowledge and thus should

 be prevented from producing any testimony to that effect at trial. " (Doc. 89 , p. 2) . Given

 the reference in his Motion to Rule 901 (b)(6), it appears Mr. Navarete may also be

 contending that the Government lacks the sort of circumstantial evidence specifically

 contemplated therein . The Government essentially argues in its Response that in fact it

 does have the sort of evidence contemplated by these Rules.

        The Court is not willing to preemptively rule before any evidence has even come

 in that the Government will be incapable of establ ish ing the foundation required by these

 Rules. Accordingly , Mr. Navarete's Motion will be DENIED for now as to this particular

 issue . The Court will , however, require the Government to lay its foundation in the proper

 sequence. For example, the Government may not ask a witness to identify Mr. Navarete's

 voice under Rule 901 (b )(5) unless that witness first testifies that he has heard Mr.

 Navarete's voice on some other occasion . And the level of specificity with which a witness

 makes a Rule 901(b)(5) voice identification must not exceed the scope of that witness's

 first-hand knowledge ; e.g. , a witness who has heard the same voice only twice , in two

 different recordings , may not identify the voice under Rule 901 (b )(5) with any greater

 specificity than that the witness believes the speaker in the two recordings to be the same

 person . Likewise , a witness may not testify under Rule 901 (b)(6)(A) "that a call was made

 to the number assigned at the time to . .. a particular person ," unless there is

 circumstantial evidence "that the person answering was the one called ." At such time as



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 the Government believes it has laid a proper foundation for a particular Rule 901 (b)

 identification , if it wishes then it may seek a ruling to that effect by this Court outside the

 jury's hearing ; any objections by either Defendant to the sufficiency of any Rule 901 (b)

 foundations will of course be noted and ruled upon at the time such objections are made.

        Finally, the Court turns now to the issue of expert testimony, which is governed

 inter alia by Fed. R. Evid . 702 , 703 , and 705 . This Court has previously ordered the

 Government to provide Mr. Navarete "a written summary of any testimony that the

 Government intends to use under Rules 702 , 703 , or 705 of the Federal Rules of Evidence

 during its case-in-chief at trial " within seven days of Mr. Navarete's request for discovery,

 pursuant to Fed. R. Crim . P. 16(a)(1 )(G). (Doc. 26 , pp . 1, 3). Mr. Navarete made such

 discovery requests at each of his arraignments in this case , most recently on February 3,

 2016 . See Doc. 39 . Mr. Navarete represents , and the Government appears to concede,

 that the Government has not specifically identified to Mr. Navarete any persons as

 potential expert witnesses or provided Mr. Navarete with a formal summary of any

 potential expert testimony that such witnesses might provide . However, the Government

 argues that it should nevertheless be permitted to introduce expert testimony by police

 officers about drug-trade code words, given that the Eighth Circuit has "held that it is not

 an abuse of a district court's discretion to permit an officer to testify as an expert,

 particularly in narcotics cases , even if Rule 16 has not been fully complied with ," United

 States v. Shepard, 462 F.3d 847 , 866 (8th Cir. 2006) , since "this type of expert evidence

 has become almost routine in drug cases and has been approved in this circuit ," United

 States v. Ortega , 150 F.3d 937 , 943 (8th Cir. 1998).




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        In this particular instance, the Court will exercise its discretion to permit the

 Government to introduce expert testimony-only by police officers as to matters

 concerning the illegal narcotics industry, and only after a proper foundation is laid as to

 such officers' expert qualifications. In other words , Mr. Navarete's Motion regard ing

 expert testimony will be DENIED as to expert testimony by police officers regarding the

 drug trade , but GRANTED with respect to any other sort of expert testimony. The Court

 makes this ruling in part because , similarly to Shepard, 462 F.3d at 866 , the Government

 represents that it has provided Mr. Navarete with "complete copies of all police reports in

 this case , all case related affidavits, and DEA 6 reports concerning the investigation ," that

 "[t]hese documents include opinions on what 'drug code words' are used in the

 intercepted conversations ," and that it will be provid ing this witness's name and a

 summary of his or her testimony to Mr. Navarete on August 25. Additionally , counsel for

 Mr. Navarete and Ms. Duran are familiar to this Court as having extensive experience

 representing criminal defendants in federal drug cases , such that the Court does not

 believe the Defendants will suffer any prejudice from this Court's adherence to the Eighth

 Circuit's standard practice on such issues.

        However, the Government would be well-advised not to assume in future cases

 that it can rely on the Court always to exercise its discretion in this manner whenever the

 issue arises . The severity of prejudice that may be suffered by a defendant on this issue

 can differ dramatically from one case to another, depending on what sort of evidence has

 been disclosed and the quality of representation that a defendant is receiving . This

 Court's standard Pretrial Scheduling Order (including the ones that were entered in th is

 case , see, e.g. , Doc. 26), outlines specific procedures that the Court expects to be



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 followed regarding the disclosure of expert reports or decisions not to disclose them; it

 should go without saying that this Court will not hesitate to strictly enforce its own prior

 orders and the Rules of Criminal Procedure , even if it believes the Eighth Circuit would

 permit it not to, if the interests of justice so require.

                                        4.     Conclusion

        IT IS THEREFORE ORDERED that Defendant Larry Jesus Navarete's Motion for

 a Bill of Particulars (Doc. 78) and Motion to Sever (Doc. 83) are DENIED , and his Motion

 in Limine (Doc. 89) is GRANTED IN PART          t' D   DENIED IN PART.

        IT IS SO ORDERED on this        ~y of Augus 20 6.




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